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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
v. Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN, l
Sentencing: December 18, 2018
Defendant.
ADDENDUM TO GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING
This Addendum to the Government’s Memorandum in Aid of Sentencing describes the
significance and usefulness of defendant Michael T. Flynn’s assistance to the government, and
the timeliness of that assistance. As described herein, the defendant’s assistance to the
government Was substantial and merits consideration at sentencing
I. Significance and Usefulness of the Defendant’s Assistance
The defendant has assisted With several ongoing investigations: a criminal investigation
_.. the special
Counsel’s Offlce’s (“SCO”) investigation concerning any links or coordination between the

Russian government and individuals associated With the campaign of President Donald J. Trump,

__ As part of his assistance With these investigations, the defendant

participated in 19 interviews With the SCO or attorneys from other Department of Justice

(“DOJ”) offices, provided documents and communications_

While this addendum seeks to provide a comprehensive description of the benefit the

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government has thus far obtained from the defendant’s substantial assistance, some of that
benefit may not be fully realized at this time because the investigations in which he has provided
assistance are ongoing. The defendant and the government agree that sentencing at this time is
nonetheless appropriate because sufficient information is available to allow the Court to
determine the import of the defendant’s assistance to his sentence.

A. Criminal Investi ation

The defendant has provided substantial assistance in a criminal investigation

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B. The Special Counsel’S Office’s lnvestigation

The defendant has also assisted with the SCO investigation concerning links or
coordination between the Russian government and individuals associated with the Trump
campaign. See Office of the Deputy Att’y Gen., Order No. 3915-2017, Appointment of Special
Counsel to Investigate Russian Interference with the 2016 Presidential Election and Related
Matters, May 17, 2017 (“ODAG Order”). The defendant assisted the SCO’s investigation on a

range of issues, including interactions between individuals in the Presidential Transition Team

and Russia, _
_l A non-exhaustive summary Of the relevant

information the defendant provided is described below to aid the Court’s assessment of the
defendant’s assistance.

i. Interactions Between the Transition Team and Russia

The defendant provided firsthand information about the content and context of
interactions between the transition team and Russian government officials. For example, after

the election, the defendant communicated with the Russian ambassador to the United States as a

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representative of the transition team on two sensitive matters: a United Nations Security Council
vote on a resolution calling for Israel to cease settlement activities in Palestinian territory and the
Obama Administration’s imposition of sanctions and other measures on Russia for interfering in
the 2016 election. Several senior members of the transition team publicly repeated false

information conveyed to them by the defendant about communications between him and the

Russian ambassador regarding the Saneriens. _

The defendant also provided useful information concerning

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II. Timeliness of the Defendant’s Assistance

The usefulness of the defendant’s assistance is connected to its timeliness The defendant

people with long-term and firsthand insight regarding events and issues under investigation by

the SCO. Additionally, the defendant’s decision to plead guilty and cooperate likely affected the

decisions of related firsthand witnesses to be forthcoming with the SCO and cooperate.

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Respectfi.llly submitted,

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